127 F.3d 1135
    97 Daily Journal D.A.R. 12,639
    Lanric HYLAND, Plaintiff-Appellant,v.Roy L. WONDER, Supervising Judge, Juvenile Court, SuperiorCourt of the City and County of San Francisco, individuallyand in his official capacity;  Daniel M. Hanlon, PresidingJudge, Superior Court of the City and County of SanFrancisco, individually and in his official capacity;Dennis Sweeney, Chief Probation Officer, San FranciscoJuvenile Probation Department, individually and in hisofficial capacity;  Fred Jordan, Chief Probation Officer,San Francisco Juvenile Probation Department, individuallyand in his official capacity;  Stephen La Plante, Director,Juvenile Hall, individually and in his official capacity,Defendants-Appellees.
    No. 95-15533.
    United States Court of Appeals,Ninth Circuit.
    Oct. 6, 1997.
    
      Prior report:  117 F.3d 405.
      Before:  SNEED, BOOCHEVER, AND THOMPSON, Circuit Judges.
    
    
      1
      The opinion in the above-entitled case, filed June 25, 1997, is amended as follows:
    
    
      2
      At Slip op. pg. 7353 [117 F.3d at 411, left column, second full paragraph], at the end of the paragraph numbered , change the "." to a "," and add "and the Navy officer had qualified immunity."   Delete the following sentence at the start of the next paragraph, "That analysis applies here."
    
    
      3
      At Slip op. pg. 7355 [117 F.3d at 412, left column, second full paragraph], on the second line of the runover paragraph, change the words "found a First Amendment violation on" to "applied a first amendment analysis to."
    
    
      4
      With the opinion thus amended, the panel has unanimously voted to deny the petition for rehearing.  Judge Thompson has voted to reject the suggestion for rehearing en banc and Judges Sneed and Boochever so recommend.  The full court has been advised of the suggestion for rehearing en banc and no active judge has requested a vote on whether to rehear the matter en banc.  Fed.R.App. 35.
    
    
      5
      The petition for rehearing is DENIED and the suggestion for rehearing en banc is REJECTED.
    
    